                 Case 19-11629-LSS   Doc 119-2   Filed 11/06/23   Page 1 of 4




                                       EXHIBIT A

                                      Proposed Order




DE:4880-6496-3982.1 70753.001
                  Case 19-11629-LSS            Doc 119-2         Filed 11/06/23       Page 2 of 4




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )     Chapter 11
                                                             )
    PES Administrative Services, LLC,1                       )     Case No. 19-11629 (LSS)
                                                             )
                                Reorganized Debtor.          )     (Jointly Administered)
                                                             )     (Formerly Jointly Administered under
                                                             )     Lead Case: PES Holdings, LLC, Case
                                                             )     No. 19-11626)

                    SEVENTEENTH ORDER (I) ENLARGING
                THE PERIOD WITHIN WHICH THE REORGANIZED
       DEBTORS MAY REMOVE ACTIONS AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the Liquidating Trust, on behalf of the Reorganized

Debtors, for entry of an order (this “Order”) (a) enlarging the Removal Period for filing notices of

removal of the Actions by 91 days, up to and including February 5, 2024, without prejudice to the

Reorganized Debtors’ right to seek further extensions, and (b) granting related relief, all as more

fully set forth in the Motion; and upon the First Day Declaration; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order; and that

this Court may enter a final order consistent with Article III of the United States Constitution; and

this Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Reorganized




1     The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
      federal tax identification number, are: PES Holdings, LLC; North Yard GP, LLC; North Yard Logistics, L.P.;
      PES Administrative Services, LLC (3022); PES Energy Inc.; PES Intermediate, LLC; PES Ultimate
      Holdings, LLC; and Philadelphia Energy Solutions Refining and Marketing LLC. On March 28, 2022, the Court
      entered an order [Docket No. 1900] closing the chapter 11 cases of the Reorganized Debtors other than
      Case No. 19-11629 (LSS), PES Administrative Services, LLC.

2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or in
      the Fourth Amended Joint Chapter 11 Plan of PES Holdings, LLC and Its Debtor Affiliates [Docket No. 1004-1]
      (the “Plan”), as applicable.



DE:4880-6496-3982.1 70753.001
                 Case 19-11629-LSS      Doc 119-2        Filed 11/06/23      Page 3 of 4




Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances and no other notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

         1. The Motion is granted as set forth herein.

         2. The time period provided by Bankruptcy Rule 9027 within which the Reorganized

Debtors may file notices of removal of related proceedings under Bankruptcy Rule 9027(a)(2) is

enlarged and extended through and including February 6, 2024.

         3. The Prepetition Removal Deadline applies to all matters specified in Bankruptcy

Rule 9027(a)(2)(A), (B), (C).

         4. The time period provided by Bankruptcy Rule 9027 within which the Reorganized

Debtors may file notices of removal of related proceedings under Bankruptcy Rule 9027(a)(3) is

enlarged and extended to the later of (i) February 5, 2024, and (ii) the time period specified in

Bankruptcy Rule 9027(a)(3)(A) and (B).

         5. The Postpetition Removal Deadline applies to all matters specified in Bankruptcy

Rule 9027(a)(3).

         6. This Order is without prejudice to the Reorganized Debtors’ right to request a further

extension of time to file notices of removal of any or all of the Actions.

         7. This Order shall be without prejudice to any position the Reorganized Debtors may

take regarding whether section 362 of the Bankruptcy Code applies to stay any Action.


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DE:4880-6496-3982.1 70753.001
                 Case 19-11629-LSS      Doc 119-2     Filed 11/06/23     Page 4 of 4




         8. All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

         9. Notice of the Motion as provided therein shall be deemed good and sufficient notice of

such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

         10. The Reorganized Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

         11. This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Dated: __________, 2023
 Wilmington, Delaware                   THE HONORABLE LAURIE SELBER SILVERSTEIN
                                        UNITED STATES BANKRUPTCY JUDGE




                                                 3
DE:4880-6496-3982.1 70753.001
